              Case 9:19-bk-05580-FMD              Doc 27         Filed 07/25/19    Page 1 of 3

                         IN THE UNITED STATES BANKRUPTCY COURT
                      MIDDLE DISTRICT OF FLORIDA, FORT MYERS DIVISION
 In Re:

 LOUIS ALAN MAIER                                            Case No. 9:19-bk-05580-FMD

                    Debtors.
                                                     /

          NOTICE OF TRUSTEE'S ABANDONMENT OF PROPERTY OF THE ESTATE

          The Trustee pursuant to 11 U.S.C. § 554, United States Bankruptcy Code, and Rule 6007, Federal

Rules of Bankruptcy Procedure, gives notice of the abandonment of the following property:

1.        Property Proposed to Be Abandoned: 267-269 Burrows Street, Rochester, New York; 37-39

          Dash Street, Rochester, New York; 74 Parkside Lane, Rochester, New York; 546 Lyell Avenue,

          Rochester, New York


           NOTICE OF OPPORTUNITY TO OBJECT AND REQUEST FOR HEARING

 Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this paper without further
 notice or hearing unless a party in interest files a response within 14 days from the date set forth on the
 attached proof of service, plus an additional three days for service if any party was served by U.S. Mail.

 If you object to the relief requested in this paper, you must file a response with the Clerk of the Court at
 Sam M. Gibbons United States Courthouse, 801 N. Florida Avenue, Suite 555, Tampa, Florida 33602, and
 serve a copy on the movant’s attorney, Robert E. Tardif Jr., P.O. Box 2140, Fort Myers, FL 33902, and any
 other appropriate persons within the time allowed. If you file and serve a response within the time permitted,
 the Court will either schedule and notify you of a hearing, or consider the response and grant or deny the
 relief requested without a hearing.

 If you do not file a response within the time permitted, the Court will consider that you do not oppose the
 relief requested in the paper, will proceed to consider the paper without further notice or hearing, and may
 grant the relief requested.


2.        Reason for Proposed Abandonment: The above-referenced properties are subject to mortgages.

          Based upon the Trustee’s investigation there does not appear to be equity sufficient to warrant

          marketing and selling the properties given the anticipated closing costs and potential exposure

          created by keeping the properties within the estate.



                                                                  /s/   Robert E. Tardif Jr.
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                                          Certificate of Service

         I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished
electronically to the Assistant United States Trustee and David W. Fineman, and by regular U.S. Mail to
Louis Alan Maier, 4315 S.W. 25th Place, Cape Coral, FL 33914 and all creditors and parties in interest as
reflected on the creditors matrix this July 25, 2019.

                                                       /s/ Matthew G. Davis
                                                       Matthew G. Davis, Esquire
                                                       100 North Tampa Street, Suite 3700
                                                       Tampa, Florida 33602
                                                       Telephone: (813) 769-4803
                                                       Email: mdavis@mpdlgal.com
Label Matrix for local noticingCase 9:19-bk-05580-FMD
                                              Caryl E. Delano Doc 27         Filed 07/25/19   Page   3 ofMaier
                                                                                               Louis Alan 3
113A-9                                        Tampa                                            4315 SW 25th Place
Case 9:19-bk-05580-FMD                        , FL                                             Cape Coral, FL 33914-6140
Middle District of Florida
Ft. Myers
Thu Jul 25 08:35:16 EDT 2019
QBE Insurance Corporation                     RLI Insurance Company                            CHEXSYSTEMS
c/o McElroy Deutsch Mulvaney & Carpenter      525 W. Van Buren                                 CONSUMER RELATION
201 East Kennedy Boulevard                    Suite 350                                        7805 HUDSON RD STE 100
Suite 815                                     Chicago, IL 60607-3823                           WOODBURY, MN 55125-1595
Tampa, FL 33602-5870

Dave Christa                                  EAST COAST ELECTRIC, LLC                         EQUIFAX CREDIT INFORMATION
600 East Avenue                               546 LYELL AVENUE                                 SERVICES, INC.
Rochester, NY 14607-2089                      ROCHESTER, NY 14606-1825                         P.O. BOX 740241
                                                                                               ATLANTA, GA 30374-0241


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ROCHESTER, NY 14604-1708


INTERNAL REVENUE SERVICE                      MCELROY DEUTSCH MULVANEY &                       (p)QBE INSURANCE CORPORATION
CENTRALIZED INSOLVENCY OP                     CARPENTER, LLP                                   55 WATER STREET
PO BOX 7346                                   201 E KENNEDY BLVD, STE 815                      NEW YORK NY 10041-0006
PHILADELPHIA, PA 19101-7346                   TAMPA, FL 33602-5870


Quermback Electric, Inc                       RENEE MAISTO                                     RLI INSURANCE COMPANY
215 Genesee Street                            42 WESTMINSTER ROAD                              POB 3967
Buffalo, NY 14203-1597                        ROCHESTER, NY 14607-2224                         PEORIA, IL 61612-3967



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United States Trustee - FTM7/13 +             David W Fineman +                                Matthew G Davis +
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Note: Entries with a ’+’ at the end of the
name have an email address on file in CMECF
